         Case 3:02-cv-01451-MO          Document 82       Filed 09/22/04     Page 1 of 3




                         IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF OREGON


LAURA KLEIN,                                             CIVIL NO. 02-1451-MO

                       Plaintiff,                        ORDER DENYING DEFENDANT'S
                                                         MOTION FOR JUDGMENT
       v.                                                NOTWITHSTANDING THE VERDICT

JOHN McHALE,

                       Defendant.



MOSMAN, J.,

       Plaintiff Laura Klein obtained a jury verdict in her favor finding defendant John McHale

liable for the tort of infliction of severe emotional distress. Defendant McHale now moves for a

judgment notwithstanding the verdict. Because the evidence, construed in the light most

favorable to the non-moving party, permits a jury's finding of liability, defendant's motion for a

judgment notwithstanding the verdict is DENIED.

       A motion for judgment notwithstanding the verdict has been renamed a renewed motion

PAGE 1 -       ORDER DENYING DEFENDANT'S MOTION FOR JUDGMENT
               NOTWITHSTANDING THE VERDICT
         Case 3:02-cv-01451-MO           Document 82       Filed 09/22/04      Page 2 of 3




for judgment as a matter of law. See Fed. R. Civ. P. 50(b). In the Ninth Circuit, "[j]udgment as

a matter of law is appropriate when the evidence, construed in the light most favorable to the

nonmoving party, permits only one reasonable conclusion, which is contrary to the jury's

verdict." Omega Environmental, Inc. v. Gilbarco, Inc., 127 F.3d 1157, 1161 (9th Cir. 1997),

cert. denied, 525 U.S. 812 (1998); see also Baker v. Delta Air Lines, Inc., 6 F.3d 632, 644 (9th

Cir. 1993) (court "must determine whether the evidence, construed as a whole and viewed in the

light most favorable to the nonmoving party, reasonably can support only a verdict for the

moving party") (emphasis original, internal quotation omitted).

       In considering a motion under Rule 50(b), "the district court is not free to weigh the

parties' evidence or to pass on the credibility of witnesses or to substitute its judgment of the

facts for that of the jury." 9A Charles A. Wright & Arthur R. Miller, FEDERAL PRACTICE &

PROCEDURE: CIVIL 2d § 2524, 255-56 (1995) (internal citations omitted).

       Here, the evidence viewed in the light most favorable to the non-moving party is:

defendant McHale was the national director of fraud investigations and one of plaintiff Klein's

senior ranking superiors; he purchased an alcoholic beverage for her after knowing she was

intoxicated; he was not intoxicated; there had been no flirting or other sexual suggestion between

them; he went to her hotel room late at night; she passed out; and he had sex with her.

       Days later, upon being confronted by defendant that she believed the sex to be non-

consensual, plaintiff stated that he had worn a condom when, in fact, he had not. There was

testimony from plaintiff, her friend, and a social worker, describing the profound mental and

emotional distress that plaintiff endured following her sexual encounter with plaintiff and their

subsequent telephone conversations.

PAGE 2 -       ORDER DENYING DEFENDANT'S MOTION FOR JUDGMENT
               NOTWITHSTANDING THE VERDICT
         Case 3:02-cv-01451-MO            Document 82       Filed 09/22/04    Page 3 of 3




       The jury's verdict reflected their belief that the sex that took place between the parties

was non-consensual. Having non-consensual sex can satisfy the court's instruction regarding the

infliction of severe emotional distress. Under the court's jury instruction number six, plaintiff

needed to establish three elements by a preponderance of the evidence: (1) the defendant

intended to inflict severe emotional distress or knew that severe emotional distress was

substantially certain to result from the defendant's conduct; (2) the defendant's conduct caused

the plaintiff severe mental or emotional distress; and (3) the defendant's conducted consisted of

some extraordinary transgression of the bounds of socially tolerable conduct or exceeded any

reasonable limit of social toleration.

       Here, the evidence, when viewed in the light most favorable to plaintiff, supports each of

these elements. As a result, defendant's motion for a judgment notwithstanding the verdict or

judgment as a matter of law (Doc. #81) is DENIED.

       IT IS SO ORDERED.

DATED:      Portland, Oregon, September 22 , 2004.



                                         /s/ Michael W. Mosman
                                         MICHAEL W. MOSMAN
                                         United States District Judge




PAGE 3 -       ORDER DENYING DEFENDANT'S MOTION FOR JUDGMENT
               NOTWITHSTANDING THE VERDICT
